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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9   JENNIFER CARRERA, ET AL,
                                                        Case No. 2:24-cv-01408-JHC
10                          Plaintiffs,
                                                        STIPULATION REGARDING REVISED
11              v.                                      JOINT STATUS REPORT AND DISCOVERY
                                                        PLAN & ORDER
12   WHITEPAGES, INC.
                                                        NOTE ON MOTION CALENDAR:
13                          Defendant.                  JUNE 6, 2025
14

15
            Plaintiffs Jennifer Carrera, Carol Anderson, and Becky Jo Palmer (collectively,
16
     “Plaintiffs”) and Defendant Whitepages, Inc. (“Whitepages”), by and through their attorneys of
17
     record, stipulate to stay discovery in this case until this Court renders its decision on Whitepages,
18
     Inc.’s Motion to Dismiss Under Rules 12(b)(1) and 12(b)(6) (Dkt. 13) and Whitepages, Inc.’s
19
     Motion to Compel Arbitration (Dkt. 16). The parties further stipulate to revise section 7 of the
20
     Joint Status Report and Discovery Plan (Dkt. 19) as follows:
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            The deadline for the first phase of discovery (i.e., concerning plaintiff’s individual claims
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     and class certification) should be 12 months after the Court rules on Whitepages’ pending
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     dispositive motions. If necessary, the deadline for remaining class discovery should be 18 months
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     after the Court rules on Whitepages’ pending dispositive motions.
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     STIPULATION REGARDING REVISED JOINT STATUS REPORT
     AND DISCOVERY PLAN & ORDER - 1
     (Case No. 2:24-cv-01408-JHC)
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 1         DATED this 6th day of June, 2025.

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     STIPULATION REGARDING REVISED JOINT STATUS REPORT
     AND DISCOVERY PLAN & ORDER - 2
     (Case No. 2:24-cv-01408-JHC)
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 1                                             ORDER

 2         IT IS SO ORDERED.

 3         DATED this 6th day of June, 2025.

 4                                                 _____________________________________
                                                   JOHN H. CHUN
 5                                                 UNITED STATES DISTRICT JUDGE
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     STIPULATION REGARDING REVISED JOINT STATUS REPORT
     AND DISCOVERY PLAN & ORDER - 3
     (Case No. 2:24-cv-01408-JHC)
